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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 IN RE: HEDRON HOLDINGS, LLC, ET AL                             CIVIL ACTION

                                                                NO: 22-205
                                                                SECTION: “T” (3)


                          SCHEDULING CONFERENCE NOTICE

       A PRELIMINARY CONFERENCE will be held BY TELEPHONE on THURSDAY,
APRIL 21, 2022, at 11:00 A.M., for purposes of scheduling a pre-trial conference and trial on the
merits and for a discussion of the status and discovery cut-off dates. At the designated time,
counsel are asked to call (877) 873-8018; when prompted enter Access Code: 8235682 to join a
conference call with the Section Case Manager.

         TRIAL COUNSEL are to participate in this conference. A paralegal or secretary may not
be substituted. If, however, you are unable for good cause to do so, another attorney in your firm
may participate if acquainted with all details of the case and authorized to enter into any necessary
agreements. If, for good cause, neither is possible, you must file a Motion and Order to Continue
at least one week prior to the above date.

      Counsel will be required to participate in this conference. A paralegal or secretary
may not be substituted.

      Counsel adding new parties subsequent to the mailing of this notice shall notify such
new party to appear as required by this notice.

        Counsel are to comply with the discovery disclosure requirements of F.R.C.P.
(26)(a)(1), 26(f) and Local Rule 26, and the corporate disclosure requirements of F.R.C.P.
7.1. Counsel are to be prepared to answer the following questions concerning disclosures.

   1. Have all parties completed your Rule 26(a)(1) mandatory initial disclosures?
   2. Have all parties stipulated that initial disclosures under Rule 26(a)(1) will not be made in
      this case?
   3. Do any of the parties object to making Rule 26(a)(1) initial disclosures in this case?
   4. Have the corporate parties filed their corporate disclosure statements?

                                                      Issued by:     Dedra D. Pongracz
                                                                     Case Manager
                                                                     (504) 589-7747
